
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-09-00079-CR


______________________________




JUAN Z. GARCIA, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the County Court at Law


Harrison County, Texas


Trial Court No. 2007-0355




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Carter



MEMORANDUM OPINION



	On March 19, 2005, Juan Z. Garcia was arrested for driving while intoxicated (DWI).  The
information for the offense was not filed until February 25, 2007.  After a hearing, the trial court
denied Garcia's motion to set aside the information based on the lack of a speedy trial.  Garcia pled
no contest to DWI March 10, 2009, while reserving his right to appeal.  He was sentenced to 365
days in jail and a $4,000.00 fine, but was placed on community supervision for eighteen months. 
His sole issue on appeal is whether his right to a speedy trial was violated due to the 709-day delay
after arrest before filing of formal DWI charges.  We affirm. 

I. 	The Right to a Speedy Trial 

	When one is arrested or charged with a crime, the Sixth Amendment to the United States
Constitution guarantees the right to a speedy trial.  This right protects anxiety and concern that
accompanies a public accusation, avoidance of impairment to defense, and freedom from oppressive
pretrial incarceration.  Cantu v. State, 253 S.W.3d 273, 280 (Tex. Crim. App. 2008) (citing Barker
v. Wingo, 407 U.S. 514, 532 (1972)).  

	The right to a speedy trial cannot be quantified in days or months.  Barker, 407 U.S. at 523.
Thus, Texas courts "analyze federal constitutional speedy-trial claims 'on an ad hoc basis' by
weighing and then balancing the Barker v. Wingo factors."  Cantu, 253 S.W.3d at 280.  These factors
include:  1) the length of the delay; 2) reason for the delay; 3) assertion of the right; and 4) prejudice
to the accused.  Id.; Barker, 407 U.S. at 530.  "[T]he greater the State's bad faith or official
negligence and the longer its actions delay a trial, the less a defendant must show actual prejudice
or prove diligence in asserting his right to a speedy trial."  Cantu, 253 S.W.3d at 280-81.  No one
factor is determinitive, and all factors must be considered together along with relevant circumstances
on a case-by-case basis.  Id. at 281.  

II. 	Standard of Review

	"In reviewing the trial court's ruling on [Garcia's] federal constitutional speedy trial claim,
we apply a bifurcated standard of review:  an abuse of discretion standard for the factual
components, and a de novo standard for the legal components."  Id. at 282 (citing Zamorano v. State,
84 S.W.3d 643, 648 (Tex. Crim. App. 2002)).  Review of the Barker factors involves both legal and
factual determinations, but "[t]he balancing test as a whole . . . is a purely legal question."  Id. (citing
Zamorano, 84 S.W.3d at 648 n.19).  Under an abuse of discretion standard, we defer to the trial
court's resolution of facts and reasonable inferences drawn therefrom and review the evidence in a
light most favorable to the ruling.  Id.  

III. 	Analysis of the Barker Factors

	A. 	The Length of Delay

	The Barker test is triggered by a delay that is unreasonable enough to be considered
presumptively prejudicial.  Id. at 281.  A delay of 706 days is presumptively prejudicial.  Id. (citing 
Doggett v. United States, 505 U.S. 647, 651-52 n.1 (1992); Phillips v. State, 650 S.W.2d 396, 399
(Tex. Crim. App. 1983) (noting courts generally find delays approaching one year presumptively
prejudicial)).  This factor weighs against the State. 

	B. 	Reason for the Delay

	When analyzing this prong of the Barker test, "different weights should be assigned to
different reasons."  Barker, 407 U.S. at 531.  Deliberate attempts to delay trial in order to hamper
a defense is weighed heavily against the State.  Id.  More neutral reasons, such as negligence or
overcrowded courts are weighed less heavily.  Id.  A valid reason for delay "should serve to justify
appropriate delay."  Id.  Although the conclusory motion stated only that "[t]here are no satisfactory
reasons for the delay" and that Garcia "suffered loss of witnesses and substantial anxiety and
concern," the trial court promptly held a hearing on the motion for speedy trial wherein the State
simply stated the indictment was brought within the two-year statute of limitations.  No other reason
for delay was given.  

	Here, Garcia does not complain about the delay between the time of filing and the trial since
his counsel announced not ready at arraignment March 31, 2007; thereafter, Garcia failed to appear 
for a required appearance February 25, 2008.  Delay which is attributable in whole or in part to the
defendant may even constitute waiver of a speedy-trial claim.  State v. Munoz, 991 S.W.2d 818, 822
(Tex. Crim. App. 1999) (citing Dickey v. Florida, 398 U.S. 30 (1970)).  The delay between the arrest
and filing weighs against the State.  

	

	C. 	Assertion of Right 

	"The constitutional right is that of a speedy trial, not dismissal of the charges."  Cantu, 253
S.W.3d at 281. Garcia never asserted his right to a speedy trial.  The assertion of this right was his
responsibility.  Id. at 282 (citing Barker, 407 U.S. at 527-28).  Failure to make repeated requests for
a speedy trial "supports an inference that the defendant does not really want a trial, he wants only a
dismissal."  Id.  Again, the information in this case was filed February 26, 2007.  A few days later,
Garcia, who was represented by counsel, waived arraignment, announced he was not ready for trial,
and requested that the case be passed to a future setting.  On February 6, 2009, almost two years after
the waiver of arraignment, and almost four years after arrest, Garcia filed a motion to set aside the
information based on the lack of a speedy trial.  Garcia entered his plea a little over one month later. 
	The Texas Court of Criminal Appeals has made it clear that even though a motion for a
speedy trial cannot be filed until formal charges are brought, that right can be asserted in other ways. 
"Because appellant never asked for a speedy trial--he asked only for a dismissal--it was incumbent
upon him to show that he had tried to get the case into court so that he could go to trial in a timely
manner."  Id. at 284.  The failure to "diligently and vigorously seek a rapid resolution is entitled to
'strong evidentiary weight.'"  Id. (quoting Barker, 407 U.S. at 531-32).  Based on the failure to seek
a speedy trial, and the fact that the motion was filed after Garcia's counsel sought continuance of
trial, we find this factor weighs heavily against Garcia.  See Dragoo v. State, 96 S.W.3d 308, 314-15
(Tex. Crim. App. 2000) (holding this factor weighted against defendant where he failed to assert 
speedy trial right for three and a half years until just before trial, although he was represented by
counsel); see also Phipps v. State, 630 S.W.2d 942, 946 (Tex. Crim. App. [Panel Op.] 1982)
(remaining silent for four years and waiting one month before trial to assert right to speedy trial
makes it difficult to prove defendant was denied right to a speedy trial). 

	D.	Prejudice 

	Prejudice is assessed in the light of the three interests which the right to speedy trial was
designed to protect:  1) freedom from oppressive pretrial incarceration; 2) mitigation of the anxiety
and concern that accompanies a public accusation; and 3) avoidance of impairment to their defense. 
Barker, 407 U.S. at 531.  "[T]he burden is on the accused to make some showing of prejudice which
was caused by the delay of his trial."  Harris v. State, 489 S.W.2d 303, 308 (Tex. Crim. App. 1973). 	Garcia posted bond, and the record does not reveal he was subject to oppressive pretrial
incarceration.  We next examine Garcia's level of anxiety.  General anxiety is at least some evidence
of the type of anxiety considered in Barker, but is not sufficient proof of prejudice when "it is no
greater anxiety or concern beyond the level normally associated with a criminal charge or
investigation.  Cantu, 253 S.W.3d at 285-86.  Besides the general allegation of "substantial anxiety,"
in the motion, there was no evidence of anxiety presented at the hearing.  

	Next, limiting the possibility of impairment of a defense is the most serious interest protected
by right to a speedy trial.  Barker, 407 U.S. at 531.  If witnesses disappear during a delay, or are
unable to recall events, prejudice is obvious.  Id.  At the hearing, Garcia claimed he was not the
driver of the vehicle.  He testified that there were two other men in the vehicle and that one of them
was the actual driver.  Garcia did not know where these men were.  He believed one was in Mexico
and the other was somewhere in North Carolina.  He testified that these witnesses would have been
available in 2005 or 2006, but were no longer available.

	Logically, if one was accused of a crime that he or she did not commit and had two witnesses
to prove innocence, that person would likely take some action to attempt to have a speedy hearing
or at least preserve the testimony of the witnesses.  Had Garcia made any effort to obtain a speedy
resolution of these charges, it would lend some credence to his claim that the State was responsible
for the loss of his exculpatory witness statements.  The issue of assertion of the right and prejudice
may be linked in this manner.  Here, Garcia could not verify whether the men moved before or after
the issuance of the information.  Even assuming the trial court determined Garcia's testimony with
regard to these witnesses as credible, before a claim of missing witnesses will amount to "some
showing of prejudice," Garcia "must show that . . . he has exercised due diligence in his attempt to
find them and produce them at trial."  Phipps, 630 S.W.2d at 947; Harris, 489 S.W.2d at 308.  No
such evidence of diligence was produced during the hearing.  

	Next, Garcia testified he was having a difficult time remembering the incident, and if he
would have been brought to trial earlier, his memory would be better.  "In assessing the evidence at
a speedy-trial hearing, the trial judge may completely disregard a witness's testimony, based on
credibility and demeanor evaluations, even if that testimony is uncontroverted."  Cantu, 253 S.W.3d
at 282.  Finally, as the sole fact-finder, the trial court, having heard the testimony of Garcia and seen
his demeanor, may have disbelieved his testimony.  We conclude Garcia has failed to demonstrate
prejudice.  

	E. 	Balancing

	"Having addressed the four Barker factors, we must now balance them."  Dragoo, 96 S.W.3d
at 316.  The delay in filing the charge and the failure to explain it weighs in favor of Garcia and
against the State.  But a major consideration is that Garcia never attempted to invoke his right to a
speedy trial.  The filing of the motion to dismiss shows a desire to have no trial, not a speedy one. 
Cantu, 253 S.W.3d at 282.  The fact that Garcia contributed to the delay, "quietly acquiesced in the
delay for [almost four] years, indicating that he really did not want a speedy trial," all weighs heavily 
against Garcia.  Dragoo, 96 S.W.3d at 316.  While Garcia testified he could not locate witnesses due
to the delay, the fact that he completely failed to assert the right to a speedy trial for four years
weakened his uncorroborated testimony of prejudice which the trial court could have disbelieved. 
All of the evidence must be viewed in the light most favorable to the trial court's ultimate ruling. 
We hold that the weight of the factors, when balanced together, leads us to conclude Garcia's right
to speedy trial was not violated. 




IV. 	Conclusion 

	We affirm the trial court's judgment.  


							Jack Carter

							Justice


Date Submitted:	September 29, 2009	

Date Decided:		October 2, 2009


Do Not Publish	



